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 1                                               THE HONORABLE JAMES L. ROBART

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 6
                          UNITED STATES DISTRICT COURT
 7                       WESTERN DISTRICT OF WASHINGTON
                                   AT SEATTLE
 8
     UNITED STATES OF AMERICA,            )
 9                                        )   Case No. 2:12-cv-01282-JLR
                            Plaintiff,    )
10                                        )   CITY OF SEATTLE’S MEMORANDUM
                  v.                      )   IN SUPPORT OF PARTIES’ JOINT
11                                        )   MOTION TO APPROVE COMPLIANCE
     CITY OF SEATTLE,                     )   AGREEMENT
12                                        )
                            Defendant.    )
13                                        )
                                          )
14                                        )
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23   CITY OF SEATTLE’S MEMORANDUM IN SUPPORT OF                       Ann Davison
                                                                      Seattle City Attorney
     PARTIES’ JOINT MOTION TO APPROVE COMPLIANCE                      701 5th Avenue, Suite 2050
     AGREEMENT - i                                                    Seattle, WA 98104-7095
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 1   I.     INTRODUCTION

 2          Over a decade ago, the United States Department of Justice (DOJ) began its investigation of

 3   the Seattle Police Department (SPD). Since then, SPD has made far-reaching reforms under the

 4   oversight of this Court. Today SPD is a transformed organization.

 5          Force used by SPD now presents a night-and-day contrast to the practices found by DOJ

 6   in 2011. This case began because DOJ found that an estimated twenty percent of SPD’s uses of

 7   force were unconstitutional. DOJ also found that officers were too quick to use force on people in

 8   crisis, use impact weapons, and use force on restrained subjects. Now, because of the Consent

 9   Decree reforms, more than 99% of force used by officers complies with SPD policy—a standard

10   that greatly exceeds constitutional requirements. The Monitor and DOJ helped SPD build and

11   implement a crisis intervention program that helps connect people in crisis with services. Today

12   SPD uses force in fewer than 2% of its interactions with people in crisis. Any pattern or practice

13   of unconstitutional force that existed has been eliminated.

14          The City and SPD have taken steps to ensure that the reforms and ongoing work will

15   endure. SPD adopted robust internal accountability mechanisms, such as overhauling its force

16   reporting system and assembling an elite team of detectives specially trained to investigate force

17   used by police officers. The City created the independent Office of Inspector General for Public

18   Safety (OIG) to provide robust, independent oversight of SPD and to foster SPD’s continual

19   adoption of emerging best practices.

20          While recognizing this tremendous progress, the Monitor and the Court have identified two

21   areas where work remains to be done: accountability and crowd management. First, the Court

22   raised concerns about whether the City’s accountability system is adequate to address systemic

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 1   policing failures and individual misconduct. Second, the Monitor identified problems with SPD’s

 2   response to the racial justice protests of 2020, specifically regarding SPD’s use, reporting, and

 3   review of force. Accordingly, the parties propose to replace the Consent Decree with a targeted

 4   Compliance Agreement that focuses federal oversight on these areas.

 5          Accordingly, the parties ask the Court to adopt the proposed Compliance Agreement and

 6   focus continued reform in two areas: ensuring a sustainable system of accountability and improving

 7   the use, reporting, and review of force in crowd settings. In the other areas of the Consent Decree,

 8   where the Monitor has found compliance, the responsibility for police oversight should be returned

 9   to the people of Seattle, through their local government institutions.

10   II.              BACKGROUND

11          A.       The Parties entered into the Consent Decree because DOJ found that SPD was
                     using force unconstitutionally.
12
            In March 2011, at the request of community groups, DOJ began an investigation of the
13
     City’s policing practices. DOJ’s Findings Letter at 1.1 At the conclusion of its investigation, DOJ
14
     estimated that 20% of SPD’s use-of-force incidents were unconstitutional. Id. at 4. Among other
15
     failings, DOJ found problems with SPD’s use of impact weapons, use of force on restrained
16
     subjects, and use of force on people in crisis. Complaint ¶ 9.2
17
            To resolve DOJ’s allegations, the Parties negotiated a comprehensive settlement
18
     agreement, or “Consent Decree,” to be enforced by the Court. The Consent Decree mandates that
19
     the City make extensive policy, training, and operational changes to its policing practices.
20
            1
21              Docket Entry No. 1-1.
            2
22              Docket Entry No. 1.

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                                                                                      Seattle City Attorney
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 1          B.       After years of work by the parties and the Monitor to implement the reforms
                     required by the Consent Decree, the Court found that the City has achieved
 2                   compliance.

 3          Between 2013 and 2015, SPD implemented comprehensive reforms affecting nearly every

 4   aspect of its operations. The Consent Decree defines “compliance” to mean that the City and SPD

 5   have: (a) incorporated its requirements into policy; (b) trained personnel to fulfill the relevant

 6   responsibilities; and (c) ensured that the requirements are being carried out in practice. ¶ 184.

 7          As required, SPD first developed comprehensive policies to address all areas of the

 8   Consent Decree. The policies were developed through a rigorous drafting and revision process that

 9   involved the Monitor,3 DOJ, SPD command staff and patrol officers, the two police unions, the

10   Community Police Commission (CPC), and the general public during a period of public comment.

11   See, e.g., Monitor’s Mem. Re Use of Force Policies (2013) at 1-2.4 This intensive process

12   generated new policies based on national best practices and constitutional principles. Monitor’s

13   June 2014 Rept. at 13-16.5 The Court reviewed and approved each policy.

14          SPD also developed and implemented new training for all of its sworn employees. On

15   December 15, 2014, describing these extraordinary training accomplishments, the Monitor wrote:

16          Whatever the issues might have been in the past with the quality of SPD training
            and resources devoted to it, the Education and Training Section under its new
17          leadership—which has only been on the job for eight months—has become one of
            the Department’s most promising drivers of systemic change. . . . By December 31,
18
            3
               Merrick Bobb served as the court-appointed Monitor from 2012-2020. In 2020, Dr.
19   Antonio Oftelie was appointed Monitor and he continues to serve today. This memorandum
     attributes work by both Mr. Bobb and Dr. Oftelie to “the Monitor.”
20
            4
                Docket Entry No. 107.
21
            5
                Docket Entry No. 154.
22

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 1          all officers will have received 32 hours of in-class training on the new force-related
            policies, at least eight hours of live training on how officers should deal with the
 2          mentally ill and others in behavioral crisis (“crisis intervention”), and eight hours
            of training on stops, detentions, and bias-free policing. . . . [A]s of January 1, 2015,
 3          . . . all officers will have received the same, comprehensive picture of the new
            policies on force, bias-free policing, stops, and crisis intervention.
 4
     Monitor’s Dec. 2014 Rept. at 2-3.6
 5
            After developing new SPD policies and implementing them through a comprehensive
 6
     training initiative, the parties and the Monitor planned a series of assessments to evaluate whether
 7
     these efforts had achieved compliance with the Consent Decree. The Monitor conducted ten
 8
     planned assessments between 2015 and 2017. In them, the Monitor documented and confirmed
 9
     the City’s compliance with each assessed Consent Decree requirement.
10
            The City subsequently asked the Court to find that it had achieved compliance. DOJ
11
     supported the City’s motion, confirming that “SPD’s use of force, stops, and related data show that
12
     it has complied with all of the terms of the Decree, and has eliminated the pattern or practice of
13
     unconstitutional policing that led to DOJ’s investigation and findings.” Docket Entry No. 422 at
14
     2. On January 10, 2018, based on the Monitor’s assessments, the Court found that the City had
15
     achieved “full and effective compliance” with the Consent Decree. Court’s 1/10/2018 Order at
16
     12.7
17

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            6
21              Docket Entry No. 187.
            7
22              Docket Entry No. 439.

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 1           C.       Since achieving compliance, the City has encountered two main obstacles in
                      sustaining compliance: accountability and crowd management.
 2
             Under paragraph 223 of the Consent Decree, the City’s attainment of compliance initiated
 3
     a two-year “sustainment” period from 2018 to 2020. At the end of the two-year period, if the City
 4
     had sustained compliance, then the Consent Decree would have provided for termination. ¶¶ 229-
 5
     30. To determine whether the City was maintaining compliance in all areas of the Consent Decree,
 6
     the parties and the Monitor planned and executed another series of assessments. During this period,
 7
     however, the City encountered two significant challenges.
 8
             First, in May 2019, the Court determined that the City had fallen “partially out of full and
 9
     effective compliance with the Consent Decree . . . in one of its additional areas of responsibility—
10
     accountability.” Court’s 5/21/2019 Order at 2.8 The Court’s ruling was based on a collective
11
     bargaining agreement (CBA) that the City had negotiated with one of the police unions. After the
12
     bargaining negotiations had begun, the City had enacted legislative reforms to the police
13
     disciplinary system; that legislation could not legally take effect until it had been bargained with
14
     the police unions.9 However, because the Ordinance was enacted mid-bargaining, the City was not
15

16
             8
               Docket Entry No. 562. In their briefs, the parties took the contrary position that the City
17   had not fallen out of compliance and that—beyond those requirements which are expressly
     stated—the Consent Decree does not mandate that the City make changes to its police disciplinary
18   procedures or accountability system. Docket Entry Nos. 512, 528. The City continues to maintain
     this legal position, while recognizing that it is critical to address the Court’s accountability concerns
19   to ensure public confidence in SPD.

             9
20            See Accountability Ordinance § 3.29.510(C) (stating that provisions subject to bargaining
     would not take effect until the City’s “collective bargaining obligations are satisfied”); Spokane v.
21   Spokane Police Guild, 553 P.2d 1316 (Wash. 1976) (Spokane Police Guild’s CBA superseded
     local regulation issued by the Spokane Civil Service Commission); Teamsters Union, Local 378,
22

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 1   entitled to go to arbitration if the parties reached an impasse on issues related to the Ordinance.

 2   As a result of good-faith bargaining by the City and SPOG, the CBA implemented some but not

 3   all of the reforms in the Ordinance. Of particular significance to the Court, it left the procedures

 4   for disciplinary appeals substantially unchanged. Court’s 5/21/2019 Order at 6, 13.

 5          The second obstacle to sustainment came in the summer of 2020 with SPD’s response to

 6   the racial justice protests motivated by the murder of George Floyd. SPD and law enforcement

 7   agencies in dozens of other cities used less lethal devices, including chemical irritants, to respond

 8   to incidents of violence that occurred during the protests. Many non-violent protestors were

 9   affected by chemical irritants or other less lethal devices. Community members, advocacy groups,

10   and City leaders (including some of SPD’s own commanders) raised concerns about SPD’s tactics.10

11   As the protests of 2020 unfolded, the City recognized it had been unprepared to address protests

12   of that nature and magnitude, especially when faced with evolving community expectations. SPD’s

13   response significantly undermined public trust.

14          At the request of the City Council and then-Mayor Durkan, the independent police

15   accountability entities worked to investigate the protest incidents and make systemic

16   recommendations, which were submitted to the Court. See Dkts. 636-1, 637-1, 639-1. Based on

17
     vs. Mason Cnty., Decision 3706, 1991 WL 733717 (Wash. Pub. Emp. Rel. Com. Jan 31, 1991)
18   (county violated RCW 41.56.1440(4) because it implemented a no-smoking ordinance without
     first engaging in collective bargaining). The City explained this legal dynamic at greater length in
19   a prior brief. See Docket Entry No. 512 at 3-4.
            10
20             As one example, community members contacted the Office of Police Accountability
     (OPA) over 19,000 times regarding SPD’s response to the protests. OPA distilled the complaints
21   to 141 incidents (over 13,000 of the contacts were about a single, widely publicized incident) and
     investigated every incident.
22

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 1   their recommendations and its own internal review, SPD made numerous changes to its crowd

 2   management policies, tactics, and training. See Docket Entry Nos. 657 & 658. Unlike in 2011,

 3   when DOJ conducted its investigation of SPD, in 2020 the review and analysis were driven by the

 4   City’s own accountability system.

 5          The City also welcomed the Monitor’s evaluation of the protest response, which

 6   appropriately came after the City’s internal review process and confirmed many of the issues that

 7   SPD had self-identified. Echoing the concerns shared across the City, the Monitor concluded,

 8   “SPD at times did not comply with its policies mandated by the Consent Decree relating to de-

 9   escalation, use of force decision-making, officer force reporting, and supervisory review of force.”

10   Monitor’s 2022 Comprehensive Assessment (hereinafter “2022 Assessment) at 32-33.11

11          D.       The Monitor’s recent assessment confirmed SPD’s tremendous progress and
                     identified the remaining areas where work must be done.
12
            In 2022, the Monitor conducted a comprehensive assessment to update the public and the
13
     Court on SPD’s performance complying with the Consent Decree. The 2022 Assessment confirms
14
     that SPD has largely sustained or built upon the remarkable improvements that it previously
15
     achieved regarding force, crisis intervention, and stops and detentions. Id. at 8-17. It concludes
16
     that SPD has sustained compliance with the Consent Decree “except during the waves of protests
17
     over the summer of 2020.” Id. at 8.
18
            In addition to providing a compliance update, the 2022 Assessment also lays out the
19
     Monitor’s vision for “the final phase of the Consent Decree.” Id. at 3-5. The Monitor identifies
20
     critical areas for improvement: (1) ensuring that the independent police accountability system is
21
            11
22               Docket Entry No. 709.

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 1   sustainable and responsive to the public; and (2) restoring trust that SPD lost due to its response to

 2   the racial justice protests over the murder of George Floyd. The Monitor makes recommendations

 3   for how SPD can restore trust and advance progress in these areas, which are discussed in Section

 4   III.B below.

 5          The Monitor also makes recommendations in a third area: mitigating racial disparities in

 6   policing. Although the Consent Decree does not cover this topic, the City addresses it in Section

 7   III.C below because of its critical importance to the City’s leaders and community.

 8   III.   ARGUMENT

 9          A.      The sweeping reforms that SPD made under the Consent Decree have led to
                    safer interactions between police and the community.
10
            Even more important than the legal achievements of compliance and sustainment, is the
11
     fact that SPD’s hard work over the past decade has improved outcomes for the people of Seattle.
12
     Those results are described in this section.
13
                    1.      It is now rare for officers to use force, and SPD has eliminated the
14                          pattern of unconstitutional force that led to the Consent Decree.

15          DOJ’s 2011 investigation found that SPD used excessive, unconstitutional force in an

16   estimated 20% of all incidents involving the use of force. DOJ’s Findings Letter at 4. DOJ

17   determined that “[t]his pattern or practice is . . . the product of inadequate policy, training and

18   supervision.” Id. at 4. To address these findings, the Consent Decree mandates substantive

19   principles governing the use of force, ¶¶ 69-90, and imposes rigorous procedures for the reporting,

20   investigation, and review of force, ¶¶ 91-129.

21

22

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 1           (a) Constitutionality of Force

 2           After SPD implemented the required reforms, the Monitor documented a dramatic change

 3   compared to DOJ’s 2011 findings. SPD has reduced the use of serious force by 60% and achieved

 4   a better than 99% rate of compliance with its use-of-force policy—which holds officers to a

 5   standard that exceeds constitutional requirements.12 See Ninth Assessment (Apr. 2017) at 8, 31-

 6   32;13 SPD Use of Force Report (Oct. 2019) at 4;14 2022 Assessment at 13, 80.

 7           Force used by SPD today presents a night-and-day contrast to the practices documented by

 8   DOJ in 2011. The use of force by Seattle police officers is now an empirically rare occurrence, and

 9   serious uses of force are exceedingly rare. In 2021, officers reported using force of any type a total of

10   1,085 times, a rate of just under one fifth of one percent (0.17%) of all dispatches. 2022 Assessment

11   at 68. Of these uses of force, the overwhelming majority (71%) involved no greater than the lowest

12   type of reportable force (such a complaint of minor pain with no sign of injury). Id. at 54. Notably

13   this lowest level of force was not even reported or tracked before the Consent Decree. First

14   Assessment (Sept. 2015) at 9.15 The most serious force—Type III force, defined as force that causes

15
             12
               The Supreme Court held, in Graham v. Connor, that the Fourth Amendment prohibits
16   officers from using excessive force. 490 U.S. 386 (1989). Force is excessive unless it is
     “objectively reasonable in light of the facts and circumstances” known to the officer at the time.
17   Id. at 397. SPD policy imposes obligations that go above and beyond the constitutional
     requirements of Graham v. Connor. For example, SPD policy requires that the force used be
18   “necessary.” See Seattle Police Manual § 8.000-POL(4); compare Graham, 490 U.S. at 396-97. In
     addition, under SPD policy, officers have an affirmative obligation to de-escalate. See Seattle
19   Police Manual § 8.100.
             13
20                Docket Entry No. 383.
             14
21                Docket Entry No. 588-1.
             15
22                Docket Entry No. 231.

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                                                                                          Seattle City Attorney
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 1   or may be reasonably expected to cause substantial bodily injury—is extraordinarily rare, occurring

 2   only 20 times in 2021, or 0.003% of all dispatches. 2022 Assessment at 54, 68. With small variations

 3   in the annual rates, SPD has maintained these extraordinary improvements consistently since 2015.

 4   Id. at 54-56, 67-68.

 5           The Monitor has repeatedly assessed the force used by the Department and determined that

 6   SPD has eliminated the pattern of unconstitutional force that gave rise to the Consent Decree.

 7   Ninth Assessment (Apr. 2017) at 8, 31-32; SPD Use of Force Report (Oct. 2019) at 3-5, 26-27;16

 8   2022 Assessment at 12, 33, 80. Accordingly, SPD has maintained compliance with the Consent

 9   Decree’s force requirements, except for one, temporary lapse: SPD’s response to the racial justice

10   protests of 2020. 2022 Assessment at 12, 33, 80. The Monitor concluded that, during the protests,

11   “SPD at times did not comply with its policies mandated by the Consent Decree relating to de-

12   escalation, use of force decision-making, officer force reporting, and supervisory review of force.”

13   Id. at 32-33.

14                           (b) Force Reporting, Investigation, and Review

15           DOJ concluded in 2011 that “[t]he chain of command does not properly investigate,

16   analyze, or demand accountability from its subordinate officers for their uses of force.” DOJ’s

17   Findings Letter at 4.

18

19

20

21
             16
                  Docket Entry No. 588-1.
22

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 1          The Monitor documented a dramatically transformed Department in this area as well. See

 2   Second Assessment (Nov. 2015) at 1-2.17 All force is now reported and reviewed by an officer’s

 3   chain of command. The most serious uses of force are investigated by an elite, interdisciplinary

 4   team of detectives who are specially trained in investigating force used by officers. Monitor’s Dec.

 5   2015 Mem. Re Training at 37.18 After each investigation is completed, SPD’s reformed Force

 6   Review Board (FRB) determines whether the force complied with policy, training, and tactics. The

 7   Monitor has lauded the FRB as “the Department’s hub of internal accountability, analysis, and

 8   continual improvement with respect to force.” Second Assessment (Nov. 2015) at 4. In addition,

 9   extensive data about SPD’s use of force is made available to the public through SPD’s online

10   dashboards and detailed annual reports.19

11          Compliance has continued. In a follow-up review in 2018, DOJ and the Monitor concluded:

12                    The overall quality of SPD’s review and investigation was high and
                      the care that officers and their chain of command took in writing
13                    reports, reviewing information, ensuring complete reporting,
                      probing issues of concern, and addressing shortcomings was
14                    impressive. . . . DOJ and the Monitoring Team believe SPD’s
                      thorough and established system of internal checks and balances in
15                    its force process (reporting, investigation and review) will help
                      ensure organizational accountability from the officer that uses force
16                    through the Chief of Police who is responsible for the process and
                      its outcomes.
17
     SPD Force Reporting, Investigation & Review Audit (Oct. 2018) at 23.20
18
            17
19               Docket Entry No. 247.
            18
20               Docket Entry No. 254.
            19
21               Available at https://www.seattle.gov/police/information-and-data

22

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 1          Since 2016, SPD has maintained compliance with the Consent Decree force reporting,

 2   investigation, and review requirements—except during the 2020 protests. See First Assessment

 3   (Sept. 2015) at 1;21 Second Assessment (Nov. 2015) at 2; Seventh Assessment (Jan. 2017) at 7;22

 4   SPD Force Reporting, Investigation & Review Audit (Oct. 2018) at 23; SPD Force Reporting,

 5   Investigation & Review Audit (July 2019) at 28;23 2022 Assessment at 36.

 6                          (c) Supervision

 7          DOJ’s 2011 investigation found that SPD’s use of excessive force was due, in part, to

 8   inadequate supervision. DOJ’s Findings Letter at 4. In 2011, officers routinely reported to two or

 9   more different sergeants during their work week. SPD Supervision Audit (Oct. 2018) at 10.24

10   Under the Consent Decree, SPD changed its patrol staffing approach to ensure that all officers

11   have consistent, clearly identified supervisors who work the same scheduled work week. Id.; 2022

12   Assessment at 145. SPD developed training specific to new supervisors to prepare them for

13   effective supervision and leadership. Sixth Assessment (Dec. 2016) at 2.25 In addition, the

14   Department adjusted staffing to maintain an adequate number of first-line supervisors to respond

15

16
            20
17               Docket Entry No. 497-1.
            21
18               Docket Entry No. 231.
            22
19               Docket Entry No. 360.
            23
20               Docket Entry No. 570-1.
            24
21               Docket Entry No. 497-2.
            25
22               Docket Entry No. 351.

23    CITY OF SEATTLE’S MEMORANDUM IN SUPPORT OF                                    Ann Davison
                                                                                    Seattle City Attorney
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 1   to the scene of uses of force and to investigate. Sixth Assessment (Dec. 2016) at 43; 2022

 2   Assessment at 145-46.

 3          As a result of these changes, as well as the reformed procedures for reporting, investigating,

 4   and reviewing force, SPD has achieved and maintained compliance with the Consent Decree

 5   supervision requirements. Sixth Assessment (Dec. 2016) at 1-2; SPD Supervision Audit (Oct. 2018)

 6   at 17; SPD Supervision Audit (Dec. 2019) at 15; 2022 Assessment at 147-48. The Monitor observed

 7   that, “[s]upervisors continue to document more substantive reviews of low-level uses of force and

 8   initiate associated corrective actions far more frequently than occurred prior to the Consent Decree.”

 9   2022 Assessment at 81.

10                   2.     SPD has dramatically improved interactions with and outcomes for
                            people in crisis.
11
            DOJ’s 2011 investigation found that “SPD officers escalate situations and use unnecessary
12
     or excessive force when arresting individuals for minor offenses. This trend is pronounced in
13
     encounters with persons with mental illnesses or those under the influence of alcohol or drugs.”
14
     DOJ’s Findings Letter at 4.
15
            Consistent with the Consent Decree’s requirements, SPD made significant training and
16
     program changes to prepare its officers to respond to people experiencing behavioral crisis. The
17
     Monitor observed that “SPD has, in a relatively brief amount of time, created a full-fledged crisis
18
     intervention program that is successfully being woven into the SPD organization.” Fifth Assessment
19
     (Feb. 2016) at 4.26 SPD now requires all officers to receive a minimum of eight hours of crisis
20

21
            26
                 Docket Entry No. 272.
22

23    CITY OF SEATTLE’S MEMORANDUM IN SUPPORT OF                                       Ann Davison
                                                                                       Seattle City Attorney
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 1   intervention training annually. Id. at 7; 2022 Assessment at 96-97; Seattle Police Manual § 16.110-

 2   POL-3(1). In addition, officers are offered the opportunity to take a forty-hour crisis intervention

 3   course and over 60% of patrol officers have completed this voluntary, advanced training. 2022

 4   Assessment at 96.

 5           To coordinate across the Department, SPD established a specialized Crisis Response Unit

 6   (CRU) made up of a sergeant, five officers and a mental health professional. Fifth Assessment (Feb.

 7   2016) at 4. CRU provides real-time, expert advice to officers city-wide; it also reviews and analyzes

 8   crisis data collected by SPD and uses it to inform program decisions. SPD Crisis Intervention - Use

 9   of Force Evaluation (Dec. 2018) at 5.27 SPD’s extensive tracking of information about crisis incidents

10   has equipped CRU with the ability to identify members of the community who frequently use crisis

11   intervention services and develop profiles and response plans for them, which are shared with officers

12   in the field. Id. In 2016, the Monitor observed, “SPD is the only agency in the nation that is currently

13   tracking [force used in crisis incidents] with any level of detail.” Fifth Assessment (Feb. 2016) at 12.

14   As a result of these programs, SPD responders “frequently seek non-enforcement outcomes to help

15   the individual in crisis, such as connecting individuals in crisis to supportive human services.” 2022

16   Assessment at 4. To that end, CRU deploys a co-responder model, partnering mental health

17   professionals with specially trained sworn officers. Declaration of Police Chief Adrian Z. Diaz (“Diaz

18   Dec.”), ¶ 8.

19           SPD is also committed to exploring alternative 911 responses. SPD recognizes the possibility

20   that the very act of sending an armed police response could, itself, escalate an otherwise low-risk

21
             27
                  Docket Entry No. 511.
22

23    CITY OF SEATTLE’S MEMORANDUM IN SUPPORT OF                                         Ann Davison
                                                                                         Seattle City Attorney
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 1   situation. 11/01/2022 Dec. of Brian Maxey ¶¶ 3-8.28 Through its “Risk Managed Demand” (RMD)

 2   initiative, SPD is analyzing 911 call data and working to develop a model to identify which calls do

 3   not require an in-person patrol response. Id. In addition, SPD and the Community Safety

 4   Communications Center are working to implement a more advanced online 911 reporting system that

 5   can reach a wider group of people. Id. ¶ 9. They are evaluating a system that can provide language

 6   translation services, be accessible to people with disabilities, and also increase the ability to assist

 7   people with limited access to technology. Id. ¶ 7.

 8           Due to SPD’s training and programmatic changes, the use of force in crisis incidents has

 9   become infrequent. Of the crisis contacts reported during 2019 and 2020, reportable force occurred

10   in approximately 1.5% of them. 2022 Assessment at 13. Because this information was not tracked

11   before the Consent Decree, no direct comparison can be drawn. First Assessment (Sept. 2015) at 9.

12   However, the Monitor observed that “[t]he sustained, low rate of force—and especially serious

13   force—in crisis intervention situations represents a dramatic improvement from DOJ investigative

14   findings that led to the Consent Decree.” Id. at 14.

15           SPD has maintained compliance with the Consent Decree requirements for crisis intervention

16   practices. Fifth Assessment (Feb. 2016) at 1; SPD Crisis Intervention Audit (Dec. 2018) at 2-5;29 2022

17   Assessment at 14.

18

19

20
             28
                  Docket Entry No. 722.
21
             29
                  Docket Entry No. 511.
22

23    CITY OF SEATTLE’S MEMORANDUM IN SUPPORT OF                                         Ann Davison
                                                                                         Seattle City Attorney
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 1                   3.     Officers consistently and appropriately document the basis for making
                            investigative (“Terry”) stops.
 2
            DOJ concluded in 2011 that “SPD officers exhibit confusion between a casual, social
 3
     contact and a brief, investigative detention (a “Terry” stop30).” DOJ’s Findings Letter at 6.
 4
     Although DOJ did not find that SPD was engaging in racially discriminatory policing, it did raise
 5
     “serious concerns about practices that could have a disparate impact on minority communities.”
 6
     Id. at 6. “[I]n certain precincts, SPD officers may stop a disproportionate number of people of
 7
     color where no offense or other police incident occurred.” Id. at 6. On this basis, DOJ concluded
 8
     that SPD’s “policies and practices, particularly those related to pedestrian encounters, could result
 9
     in unlawful policing.” Id. at 3.
10
            To address these issues, in close consultation with the Monitor, DOJ, and the CPC, SPD
11
     reformed its policy and training related to stops and detentions. SPD also overhauled its data
12
     collection for Terry stops. See Monitor’s Mem. Re Collection of Data on Stops (May 2014).31
13
     Officers are now required to complete a report after every Terry stop to document, among other
14
     items, important demographic information about the subject (such as perceived race), the duration
15
     of the stop, and a description of the circumstances giving rise to articulable reasonable suspicion.
16
     Seattle Police Manual § 16.110-POL-5(9). These demographic data support SPD in conducting
17

18
            30
19             In Terry v. Ohio, 392 U.S. 1 (1968), the United States Supreme Court held that a brief,
     investigative detention is authorized under the Fourth Amendment when an officer has a
20   reasonable suspicion of criminal activity and the suspicion is based on specific and articulable
     facts.
21
            31
                 Docket Entry No. 143.
22

23    CITY OF SEATTLE’S MEMORANDUM IN SUPPORT OF                                      Ann Davison
                                                                                      Seattle City Attorney
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 1   trend analysis, as described below, and also support OPA investigations into possible patterns of

 2   bias.

 3           With regard to stops and detentions, the Monitor reported:

 4                    SPD and its officers are complying with the legal and policy
                      requirements related to stops, searches, and seizures. The number of
 5                    stops and detentions of individuals that are not supported by
                      sufficient legal justification is exceedingly small. Importantly, an
 6                    individual’s odds of being a subject of a “bad” stop do not depend
                      on that individual’s race. This means that, regardless of who a
 7                    subject is, the Department is complying with the requirements of
                      law and SPD policy in a vast majority of instances.
 8
     Tenth Assessment (June 2017) at 3.32
 9
             In addition to improving its policies, training, and data collection for stops and detentions,
10
     SPD also developed programming to explicitly counter the issue of bias. With input from DOJ,
11
     the Monitor, and CPC, SPD adopted a comprehensive bias-free policing policy. See Seattle Police
12
     Manual § 5.140; Monitor’s June 2014 Rept. at 13-14.33 The City Council took the further step of
13
     codifying the policy into local law. Seattle Mun. Code Ch. 14.11. Under the policy, any officer
14
     who learns of a bias complaint must call a supervisor; the supervisor then must come to the scene
15
     of the incident and investigate in person. All bias complaints are forwarded to OPA for review or
16
     investigation. Seattle Police Manual §§ 5.140-PRO-1, 5.002-POL-5.
17
             The Monitor lauded SPD’s bias-free training, writing that it “incorporates critical features
18
     and key insights from numerous fields, well-established research, and existing law enforcement
19

20
             32
                  Docket Entry No. 394.
21
             33
                  Docket Entry No. 154.
22

23    CITY OF SEATTLE’S MEMORANDUM IN SUPPORT OF                                       Ann Davison
                                                                                       Seattle City Attorney
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 1   and professional training programs.” Monitor’s Sept. 2014 Mem. Re Training at 6.34 The Monitor

 2   observed that “[t]he dynamic collaboration between [SPD] and CPC across multiple iterations of

 3   [drafts] has helped to ensure that the training addresses some of the central concerns of Seattle’s

 4   diverse communities with respect to differential treatment and issues relating to procedural

 5   justice.” Id. at 7.

 6           Based on this ongoing work, SPD has achieved and maintained compliance with the

 7   Consent Decree requirements to implement policies and training to address bias and improve the

 8   handling of bias complaints. ¶¶ 145-52. Tenth Assessment (June 2017) at 3; SPD Stops and

 9   Detentions Audit (Jan. 2019) 35 at 32-34; SPD Stops and Detentions Audit (Oct. 2019)36 at 22-23;

10   2022 Assessment at 17.

11                    4.      OPA conducts thorough, complete disciplinary investigations.

12           DOJ’s 2011 investigation found “that the OPA system is sound and that investigations of

13   police misconduct complaints are generally thorough, well-organized, well-documented, and

14   thoughtful.” Consent Decree ¶ 164. However, DOJ identified three issues related to OPA’s handling

15   of complaints:

16           •     OPA dispose[d] of nearly two-thirds of citizens’ complaints by sending them to
                   SPD’s precincts, where they [were] not adequately investigated.
17           •     OPA’s . . . classification and findings systems [were] so complex that they
                   damage[d] OPA’s credibility and undermine[d] public confidence in OPA.
18

19
             34
20                Docket Entry No. 176.
             35
21                Docket Entry No. 547-1.
             36
22                Docket Entry No. 588-2.

23    CITY OF SEATTLE’S MEMORANDUM IN SUPPORT OF                                      Ann Davison
                                                                                      Seattle City Attorney
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 1          •     OPA consistently overuse[d] and misuse[d] the finding “Supervisory
                  Intervention,” which result[ed] in neither a true finding nor a remediation of the
 2                officer.

 3   DOJ’s Findings Letter at 5. To address these findings, the Consent Decree mandates that the OPA

 4   Manual be updated and requires revisions to SPD’s policies on reporting misconduct and

 5   retaliation to OPA. ¶¶ 165-167.

 6          The City satisfied these requirements. Fourth Assessment (Jan. 2016) at 2.37 As an initial

 7   step, OPA eliminated the practice of sending community members’ complaints to SPD precincts

 8   to be handled by the chain of command. Id. OPA then worked with the Monitor and DOJ to re-

 9   start the practice in a way that would ensure appropriate supervisor review of complaints involving

10   minor misconduct (whereas complaints of serious misconduct must be investigated by OPA).38 In

11   addition, SPD issued revised policies for reporting misconduct and retaliation to OPA which were

12   approved by the Monitor, DOJ, and the Court. Monitor’s Mem. Submitting OPA Manual & SPD

13   Policies.39 Finally, OPA worked with the Monitor, DOJ, and City stakeholders, including CPC, to

14   develop an OPA manual. Id. In the manual, OPA adopted “streamlined” categories for classifying

15   investigations and findings to “ensure that [the complaint process] is accessible to the public.” Id.

16   at 2. Notably, OPA eliminated the “supervisory intervention” finding category and adopted new

17

18
            37
19               Docket Entry No. 259-1.

20          38
              See OPA’s 2019 Annual Report at 21-22, available at
     http://www.seattle.gov/Documents/Departments/OPA/Reports/2019-Annual-Report.pdf
21
            39
                 Docket Entry No. 156.
22

23    CITY OF SEATTLE’S MEMORANDUM IN SUPPORT OF                                        Ann Davison
                                                                                        Seattle City Attorney
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 1   findings categories which the Monitor praised as “an important advance.” Fourth Assessment (Jan.

 2   2016) at 2.

 3              These reforms have had a profound impact on the compliance culture within SPD. In 2011,

 4   DOJ found that referrals from SPD supervisors about misconduct to OPA were “rare to non-

 5   existent.” DOJ’s Findings Letter at 2. OPA’s most recent annual report documents that one-third

 6   of its 558 cases came from referrals made by SPD employees. OPA Annual Report at 8.40 Referrals

 7   from within SPD are important, because they allow OPA to learn about potential misconduct that

 8   the community does not observe or report.

 9              After OPA obtained compliance with the Consent Decree, because of its important role in

10   ensuring constitutional policing, the parties and the Monitor agreed that the Monitor would

11   continue to evaluate OPA’s performance—not from a compliance perspective, but to provide

12   technical assistance and recommendations. See, e.g., Fourth Assessment (Jan. 2016) at 2;

13   Monitor’s OPA Follow-Up Review (Jan. 2020)41 at 2. Subsequently, OIG conducted an audit of

14   SPD’s disciplinary system that led to additional improvements.42 OPA is working to implement

15   all of the resulting recommendations from the Monitor and OIG, described below in Section

16   III.B.1.

17

18
                40
               Available at https://www.seattle.gov/documents/Departments/OPA/Reports/2021-
19   Annual-Report.pdf

20              41
                     Docket Entry No. 604-1.
                42
21             Audit of Disciplinary System for SPD Sworn Personnel (Nov. 30, 2021), available at
     https://www.seattle.gov/documents/Departments/OIG/Audits/AuditofDisciplinarySystemforSPD
22   SwornPersonnel.pdf

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 1          B.       The proposed Compliance Agreement will replace the Consent Decree with
                     new requirements in the areas where work remains to be done.
 2
                     1.      The Monitor will assess the accountability reforms made by the City
 3                           and develop a path forward to address the Court’s concerns.

 4          As set out in previous orders, the Court’s concerns implicate two elements of

 5   accountability: first, the City’s ability to deter and address misconduct by individual officers; and,

 6   second, the City’s ability to identify system-wide policing failures and address them through

 7   effective reforms.43 Since the Court found the City out of compliance in the area of accountability,

 8   the City has spent three years making improvements in these areas. It is time to take the measure

 9   of these improvements and chart a course forward. The Compliance Agreement provides a

10   framework for this body of work.

11                           (a) The Monitor will examine the recent City-wide and state-wide reforms
                             to police discipline and determine how well they have worked.
12
            Under the Compliance Agreement, the Monitor will assess the strengths and weaknesses
13
     of the City’s accountability system, including the changes to the City’s disciplinary system
14
     described below. Compliance Agreement ¶ 85.
15
            Over the past three years, the City has improved disciplinary investigations and procedures.
16
     Although DOJ and the Monitor previously confirmed the high quality of OPA’s disciplinary
17
     investigations,44 OPA has continued to improve. Among other actions, OPA has implemented
18

19

20          43
              See, e.g., Court’s 5/21/2019 Order Finding Seattle Partially Out of Compliance, Docket
     Entry No. 562 at 6; Court’s 8/26/2015 Minute Order; Court’s 8/07/2015 Minute Order.
21
            44
                 Consent Decree ¶ 164; Fourth Assessment at 3.
22

23    CITY OF SEATTLE’S MEMORANDUM IN SUPPORT OF                                       Ann Davison
                                                                                       Seattle City Attorney
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 1   recommendations made by the Monitor and OIG45 including: augmenting its training on

 2   interviewing techniques; adding and filling two new civilian investigative staff positions;

 3   increasing the quality of its written investigative plans, improving overall case documentation;

 4   taking steps to ensure that closed case summaries are promptly sent to complainants; and notifying

 5   complainants of disciplinary appeals. Declaration of Gino Betts Jr. (“Betts Dec.”) ¶¶ 6-14, 21-25.

 6   These changes have strengthened the quality and independence of OPA’s work. In addition, OPA

 7   has increased transparency into officer discipline. Starting in June 2020, OPA began posting

 8   information about the disciplinary resolution for each of its investigations and the status of all

 9   pending disciplinary appeals on its website.46 Id. ¶ 20. Transparency is important because it helps

10   to ensure public accountability.

11          Since the Court’s 2019 non-compliance ruling—which was prompted by the approval of a

12   collective bargaining agreement—the City has taken steps to ensure that the collective bargaining

13   process better reflects community priorities. It modified the bargaining process to incorporate

14   greater input from OPA, OIG, CPC, and City Council members than ever before. Declaration of

15   Danielle Malcolm (“Malcolm Dec.”) ¶¶ 11-13. Recent negotiations with one of the police unions

16   were conducted using this process, resulting in a contract that transformed the disciplinary appeals

17   system for captains and lieutenants. See id. ¶¶ 14-15.

18

19

20          45
               The Monitor’s and OIG’s recommendations are laid out in the Monitor’s OPA follow-
     Up Review (Jan. 2020) (Docket Entry No. 604-1) at pages 29-33, and the OIG’s Audit of
21   Disciplinary System for SPD Sworn Personnel (Nov. 30, 2021), at pages 40-42.
            46
22               Available at https://www.seattle.gov/opa/case-data

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                                                                                      Seattle City Attorney
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 1          In addition to making reforms at the local level, the City also obtained a legal victory that

 2   directly addresses the Court’s concerns with respect to arbitrators’ discretion in excessive force

 3   cases. In the Washington Court of Appeals, the City prevailed in a case that will strengthen its

 4   position in officer disciplinary appeals going forward. The court upheld the City’s termination of

 5   an officer who had used excessive force on a woman while she was handcuffed in his patrol car.

 6   City of Seattle v. Seattle Police Officers’ Guild, 484 P.3d 485 (Wash. App. 2021). It found that the

 7   arbitrator’s award reinstating the officer “was so lenient it violates the public policy against the

 8   use of excessive force.” Id. at 502. Thus, due to the City’s advocacy and the principles declared in

 9   the Consent Decree, a state appellate court held for the first time that there is a clear public policy

10   against excessive force by police officers. This precedent will have ripple effects for police

11   departments throughout the state when disciplining officers for using excessive force.

12          In another important case, the Washington Court of Appeals held that public policy

13    required the termination of an officer who demonstrated bias. This second case did not involve

14    the City, but it establishes state-wide precedent. In that case, an arbitrator reinstated a police

15    officer who had sexually harassed women in the community. The Court of Appeals held that

16    reinstatement violated the “well-defined and dominant public policies aimed at ending current

17    discrimination and preventing future discrimination . . . by officials acting under color of state

18    law.”47

19          The City also helped shape the state legislative agenda in ways that respond to the Court’s

20    concerns. City leaders, including City Councilmember Herbold, then-Mayor Durkan, and current

21
            47
              City of Prosser v. Teamsters Union Local 839, 21 Wash. App. 2d 1058, 2022 WL
22   1151427, at *7 (2022).

23    CITY OF SEATTLE’S MEMORANDUM IN SUPPORT OF                                        Ann Davison
                                                                                        Seattle City Attorney
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 1   Senior Deputy Mayor Harrell, testified in Olympia and urged changes to the police disciplinary

 2   process.48 In 2021, the state legislature enacted a new law creating mandatory arbitration selection

 3   procedures for police disciplinary appeals.49 It eliminates negotiations between police unions and

 4   police departments over selecting an arbitrator. The state commission now appoints a roster of

 5   trained, experienced arbitrators to hear disciplinary appeals for police officers. This law addresses

 6   the Court’s concerns about the qualifications and impartiality of arbitrators. It took effect on

 7   January 1, 2022, and the new procedures and roster of arbitrators are now being used. RCW

 8   41.58.070(2)(a).

 9          In the same session, the legislature enacted a law that supports termination of officers who

10   use excessive force or exhibit racial bias. The statute establishes discretionary authority for the

11   state commission to decertify officers who use force in violation of their department’s policy;

12   decertification is also authorized for officers who discriminate based on a person’s protected

13   status.50 RCW 43.101.105(3)(e) & (h). City leaders testified in favor of this bill as well.51

14
            48
               January 14, 2021, Labor, Commerce, and Tribal Affairs Committee Hearing on SB 5055
15   & SB 5134, available at
     https://tvw.org/video/senate-labor-commerce-tribal-affairs-committee-
16   2021011163/?eventID=2021011163
            49
17               LAW ENFORCEMENT DISCIPLINARY GRIEVANCE ARBITRATION, SSB 5055.SL.
            50
18           It also helps to prevent officers from staying in law enforcement if they are found to have
     used excessive force. It mandates decertification of officers who have been terminated for using
19   unlawful force or for failing to intervene to stop such force by another officer, RCW
     43.101.105(2)(b) & (c), preventing them from transferring to another agency. This reform is
20   important state-wide, although it has not been identified as a problem for SPD.

21          January 14, 2021, Labor, Commerce, and Tribal Affairs Committee Hearing on SB 5055
            51

     & SB 5134, available at
22

23    CITY OF SEATTLE’S MEMORANDUM IN SUPPORT OF                                      Ann Davison
                                                                                      Seattle City Attorney
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 1          In sum, the City and the state legislature have taken achievable, concrete steps leading to

 2   improvements in the police disciplinary system and the collective bargaining process. But the

 3   improvements made thus far do not alter the fact that broader systemic changes can be achieved

 4   only by bargaining a new contract or through additional changes to state law. Under state labor

 5   law, virtually all aspects of police disciplinary procedures are “mandatory” bargaining subjects.52

 6   To that end, the Executive and members of City Council have publicly committed that the Court’s

 7   areas of concern will be top priorities in the current round of bargaining negotiations. Malcolm

 8   Dec. ¶¶ 6-7.

 9                         (b) The Monitor will assess OIG’s track record in addressing systemic
                           failures and OIG’s capacity to provide robust oversight of SPD.
10
            The Compliance Agreement also addresses concerns about how well the City can identify
11
     and correct systemic policing failures. The City’s elected leaders have entrusted the OIG with this
12
     responsibility. Accountability Ordinance § 3.29.010 et seq. OIG has broad oversight authority over
13
     SPD and is charged with ensuring the ongoing integrity of its processes and operations. Id.
14
     § 3.29.200(D). It provides systematic oversight of the management, practices, and policies of SPD
15
     and OPA. Id. § 3.29.200(D)-(K). OIG’s role incorporates forward-looking advice and
16

17
     https://tvw.org/video/senate-labor-commerce-tribal-affairs-committee-
18   2021011163/?eventID=2021011163

19          52
               An employer must bargain mandatory subjects with the unions whose members are
     affected before implementing changes. See generally Int’l Ass’n of Fire Fighters, Local Union
20   1052 v. Pub. Employment Relations Comm’n, 778 P.2d 32, 35 (Wash. 1989) (interpreting
     bargaining requirement of Public Employees’ Collective Bargaining Act (PECBA)); see also
21   Spokane Police Guild, Dec. 5054, 1995 WL 849648 (Wash. Pub. Emp. Rel. Comm’n) (disciplinary
     procedures are mandatory subject of bargaining).
22

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 1   recommendations, as well as audits and after-the-fact evaluations of past incidents. Id. In addition,

 2   OIG “oversee[s] ongoing fidelity to organizational reforms implemented pursuant to the goals of

 3   the . . . Consent Decree.” Id. § 3.29.010(B).

 4           Because of OIG’s central role in ensuring accountability, the Compliance Agreement

 5   provides that the Monitor will examine the critical question of whether SPD is taking OIG’s

 6   recommendations and making needed course corrections in response. Compliance Agreement

 7   ¶ 85. The Monitor also will consider broadly whether the policies and priorities of SPD as an

 8   organization reflect those advocated by OIG, CPC, and OPA—a key indicator of whether the

 9   accountability system is working as intended. The Monitor’s conclusions will inform the Court

10   and the public as to whether SPD as an institution is being held responsible when there are systemic

11   failures.

12           In addition, the Compliance Agreement will help inform the Court as to whether OIG has

13   the capacity to provide robust oversight of SPD. In close consultation with the Monitor and

14   Inspector General Judge, Mayor Harrell directed the City Budget Director to create and fund three

15   emergency auditor/analyst positions at OIG for the remainder of 2023. The hiring process for these

16   new positions began in February. This increase in OIG’s staff will help in transferring functions

17   from the Monitor to OIG. These positions will be included as permanent additions to OIG in the

18   Executive’s 2023 mid-year supplemental budget request to City Council.

19           Going forward, OIG commits to undertake substantial obligations in the Compliance

20   Agreement as an important step toward assuming the role of the Monitor. OIG will review SPD’s

21   data reporting and analysis to help verify continued compliance in the areas addressed in

22   paragraphs 69-168 of the Consent Decree: use of force; crisis intervention; stops and detentions;

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 1   bias-free policing and supervision. Compliance Agreement ¶ 87. In addition, OIG will conduct a

 2   Use-of-Force Assessment to examine: force used in crisis incidents (an area criticized in DOJ’s

 3   2011 investigation); the use of less lethal devices (an area of recent concern for the Monitor), and

 4   force used in the crowd management context (an area of recent concern for the Monitor). Id. ¶ 89.

 5   These reports will update the Court and the public on whether SPD has maintained progress in

 6   responding to people in crisis and also whether SPD has addressed the force-related issues

 7   identified by the Monitor in the 2022 Assessment.

 8          Finally, OIG will work with the Monitor to develop a Workplan detailing its approach for

 9   ensuring continued, robust monitoring of SPD. Compliance Agreement ¶ 88. As part of the

10   Workplan, OIG will develop a methodology and timeline for continuing to assess SPD’s

11   performance in the areas covered by the Consent Decree—even after the Consent Decree has

12   concluded. Id.

13          In performing these oversight responsibilities, OIG will demonstrate whether it is ready to

14   take on the role of the Monitor. It is important that OIG have ample capacity, because once federal

15   oversight ends the people of Seattle must take on the responsibility of ensuring police

16   accountability, and OIG is the institution established by the City’s elected leaders to do this work.

17                    2.    SPD will revise its policies on using force at protests and provide data
                            to show whether its practices have improved.
18
            The Monitor determined that, during the protests of 2020, “SPD at times did not comply
19
     with its policies mandated by the Consent Decree relating to de-escalation, use of force decision-
20
     making, officer force reporting, and supervisory review of force.” 2022 Assessment at 32-33. The
21
     Monitor also concluded that “SPD must restore trust that the Department lost during the protests
22

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 1   and demonstrations that occurred in 2020 in the wake of the murder of George Floyd in

 2   Minneapolis and SPD’s resulting response.” Id. at 4.

 3          To address concerns over SPD’s response to the protests, the Compliance Agreement

 4   requires revisions to policies and training. Compliance Agreement ¶¶ 81-83. In the months

 5   following the protests, SPD substantially revised its crowd management policies to incorporate

 6   feedback from the OIG, OPA, and CPC and to implement new strategies for crowd de-escalation

 7   and crowd management. See generally City’s Motion to Approve Policy Revisions.53 Since then,

 8   SPD has been receiving additional, community-centered feedback on its policies through the

 9   Sentinel Event Review (SER) process. OIG is convening the ongoing SER process to examine

10   SPD’s response to the protests through a non-blaming, forward-looking framework. See Wave 1

11   SER Rept.54 at 2-3. Through the SER, community members, subject matter experts, and SPD

12   officers have come together to critically assess the protest incidents to determine ways to prevent

13   future similar events. Id. at 2. The resulting recommendations are intended to reflect the

14   perspectives of the community, identify root causes of negative outcomes, and recommend ways

15   to improve systems. Id. Accordingly, the Compliance Agreement provides that SPD will respond

16   to crowd management recommendations that come out of the OIG’s Sentinel Event Review

17   process. Compliance Agreement ¶¶ 81, 84.

18          Another key recommendation of the Monitor is that SPD must develop a process to ensure

19   thorough, accurate reporting and timely, appropriate investigations of force used during protests.

20
            53
21               Docket Entry No. 658.
            54
22               Docket Entry No. 282-1.

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 1   2022 Assessment at 38. Under the Compliance Agreement, SPD commits to do this in consultation

 2   with DOJ and the Monitor. Compliance Agreement ¶ 82.

 3          In addition, the Compliance Agreement requires SPD to report data regarding its practices

 4   at protests, demonstrations, and other crowd settings. Compliance Agreement ¶ 87. The Monitor’s

 5   2022 Assessment documented the type, nature, and frequency of force SPD used in protests. 2022

 6   Assessment at 58-63. It found that SPD’s use of less-lethal devices in 2020 was more than eight

 7   times greater than any year dating back to 2015, the first full year of use of force data under the

 8   Consent Decree; the Monitor also found that these SPD’s use of these devices at times impacted

 9   people who were peacefully protesting. Id. at 35, 48-66. SPD will provide comparable force data

10   for 2021 and 2022 and information about the frequency and size of protests during those years to

11   allow the Court to determine whether SPD has successfully addressed the issues found by the

12   Monitor. Compliance Agreement ¶ 87.

13          C.      SPD will continue working to mitigate racial disparities in policing.
            Although the Consent Decree does not impose requirements in this area, SPD is committed
14
     to continuing to address a third area of critical importance to the City’s leaders and community:
15
     mitigating racial disparities in policing. The Consent Decree does not directly mandate the study
16
     of racial disparities in policing or the reduction of such disparities. However, as a result of the
17
     Consent Decree, SPD now has the necessary data collection and analytical capacity to identify and
18
     mitigate disparities. The Monitor has applauded SPD’s work in this area. “SPD is now identifying
19
     specific disparities through sophisticated analyses, previously conducted solely by the Monitoring
20
     Team since they were beyond SPD’s abilities.” 2022 Assessment at 25. The Monitor also
21
     concluded that [f]ew, if any, law enforcement agencies in the United States have built or maintain
22

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 1   the internal capacity to produce ongoing disparity analyses at [SPD’s] level of rigor and

 2   sophistication. Id. at 137-38.

 3           Importantly, SPD and the Monitor agree that SPD’s work is not finished in this area. SPD

 4   has stated, “[a]s is reflected in statistics nationwide, racial disparity is of significant ongoing

 5   concern.” SPD Jan. 2020 Annual Rept. at 9.55 Similarly, while finding compliance with the

 6   Consent Decree requirements on bias-free policing, the Monitor acknowledged that “important,

 7   ongoing work with the community remains with regards to disparities.” 2022 Assessment at 17.

 8   Notably, SPD has analyzed the data it gathers and determined that, when policing data are

 9   compared to Seattle’s population, there are racial disparities seen in police interactions,

10   particularly for Native American and Black individuals. SPD Disparity Review Pt. I at 3-556; 2022

11   Assessment at 15-16, 76-78, 128, 132, 139. The City and SPD agree with the Monitor’s conclusion

12   that:

13           Directly comparing stop or frisk rates to the racial composition of Seattle’s
             population does not, by itself, render conclusions on biased-policing or tell us the
14           amount of disparity caused specifically by SPD’s practices, because racial
             disparities evident in police data may be impacted by societal inequities, not just by
15           the actions of individual subjects or officers. . . . Still, racial disparities of this nature
             are concerning—regardless of intent or cause—and the City as a whole, including
16           SPD, should strive to eliminate them.

17   2022 Assessment at 16.

18

19

20

21           55
                  Docket Entry No. 605-1.
             56
22                Docket Entry No. 554-1.

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 1           As stated in the Compliance Agreement, ¶ 4(f), SPD remains committed to the work of

 2   identifying and implementing opportunities to improve its practices in ways that promote racial

 3   equity. Some of those efforts are described below.

 4           SPD makes public extensive data on the demographics of subjects of police interactions

 5   and provides an online dashboard for the public to search and analyze this data. SPD uses statistics

 6   to analyze racial disparities in its interactions with the public. Most importantly, SPD uses its data

 7   and analyses to inform policy changes designed to support racial equity. In one example, OIG and

 8   SPD convened a stakeholder workgroup beginning in 2021 to collaborate on a traffic enforcement

 9   initiative. Diaz Dec. ¶ 10. The goal of this effort is to identify and implement alternatives to minor

10   traffic stops. Id. Data gathering to inform these alternatives has been ongoing since 2021. Id. This

11   work culminated in SPD de-prioritizing certain, non-moving traffic offenses by no longer

12   considering them as a primary basis for a stop, such as bicycle helmet citations or a missing front

13   license plate. Id.

14           Another example came out of SPD’s disparity review report, completed in 2019. SPD

15   identified unexplained racial disparities in its frisk and “hit” rates. SPD Disparity Review Pt. I at

16   3-5.57 This finding highlighted the importance of training officers in how to “match” a 911

17   description to a subject and also enhanced training for 911 call takers. SPD conducted further

18   analysis and found that the more “out of place” a subject is, when considering the racial

19   demographics of the neighborhood, the more the subject is to be stopped and frisked. SPD

20

21
             57
                  Docket Entry No. 554-1.
22

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 1   Disparity Review Pt. II.58 SPD’s updated (2022) “legal refresher” training curriculum on stops

 2   instructs officers in several scenarios regarding how and when it is acceptable to conduct a Terry

 3   stop or frisk based on an anonymous caller or other “tip.” Maxey Dec. ¶ 15. In addition, the 911

 4   call taker manual was updated to include a section regarding potential bias and callers who report

 5   “suspicious people” but are unable to explain what is suspicious. Id.

 6          Another finding was an unexplained racial disparity in the rate of firearm pointing. Disparity

 7   Review Pt. I at 3-5. In response, SPD reviewed and updated its reporting and review requirements for

 8   pointing a firearm to require reporting and review regardless of whether or not the pointing was

 9   intentional. Maxey Dec. ¶ 14.

10          SPD has worked hard to make rigorous disparity analysis part of its regular business

11   practices. SPD recently began implementing a program called Equity, Accountability, and Quality

12   (EAQ). Maxey Dec.¶¶ 12, 16. SPD’s researchers use statistical methods to identify possible areas

13   of unwarranted racial disparities. Id. ¶ 16. As of February 2023, command staff has begun meetings

14   with captains and lieutenants using a forward-looking framework structured to uncover root causes

15   and identify solutions. Id.

16          High-quality, innovative training can support officers to have more equitable interactions

17   with members of the community. Id. ¶¶ 5, 8-9. For example, in 2022 SPD launched a training

18   course for new officers called “Before the Badge.” Id. ¶ 5. Among other topics, the curriculum

19   explores the policing profession’s history with communities of color, gender responsiveness, and

20   the science of relationship-based policing. In addition, police recruits and Community Service

21
            58
22               Docket Entry No. 600-1.

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 1   Officers meet with and are expected to have honest, open dialogues with the public about the

 2   history of policing in their communities, their expectations of how officers should interact with

 3   people in those communities, and the public safety challenges those communities face. Id. Trainees

 4   meet with people directly impacted by policing, including currently and formerly incarcerated

 5   persons, persons who have experienced violence, immigrant and refugee communities, local

 6   business communities, and students. Id. In a similar vein, SPD also developed a training on

 7   community perspectives of policing in Seattle which it offers to officers in partnership with the

 8   Northwest African American Museum and the Wing Luke Museum. Id. ¶ 8.

 9          As noted above, SPD’s work to mitigate racial disparities is not finished. The Monitor’s

10   2022 Assessment concluded that SPD must continue to “identify opportunities for improvement

11   and implement recommendations toward more equitable policing.” 2022 Assessment at 17. The

12   Monitor made the following recommendations to support that goal:

13      •   Make disparity analytics publicly available and digestible where feasible, in collaboration
            with CPC and OIG. (Intent: increase public engagement, promote accountability.)
14      •   Develop a plan to address potential bias and unwarranted racial disparities in policing;
            report out regularly with community partners regarding the status and impacts (if known)
15          of actions that SPD has taken in this area. (Intent: reduce unwarranted disparities.)
16      •   Continue to collaborate with CPC and OIG to identify and implement strategies to reduce
            disparities; including incident review community sessions. (Intent: reduce disparities,
17          increase public engagement, generate community-driven solutions, support and respect
            dignity of subjects during interactions with police.)
18      •   Amplify the training and guidance around how much of a match between the description
            of a suspect and the appearance of the subject there must be to constitute a “match” to
19          initiate a stop, and safety frisk, if warranted. (Intent: reduce disparities in the stop rate and
            frisk rate.) Completed—Maxey Dec. ¶ 15.
20
        •   Develop enhanced procedures and trainings for 911 call takers and dispatchers to
21          improve their ability to recognize and mitigate implicit bias. (Intent: reduce disparity in
            stop rate and frisk rate.) Completed—Maxey Dec. ¶ 15.
22

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 1         •   Address disparity-associated issues involving officer professionalism. (Intent: support
               and respect dignity of subjects during interactions with police.)
 2         •   Review policies, trainings, and protocols for the pointing of firearms. (Intent: reduce
               disparity in the pointing of firearms.) Completed—Maxey Dec. ¶ 14.
 3
     2022 Assessment at 132, 138-39, 141-42.
 4
               SPD commits to provide updates regarding the status of each recommendation. In addition,
 5
     SPD is developing a plan that details the technologies, policies, and practices that it will seek to
 6
     employ to mitigate disparities in policing. SPD’s report and plan will be published on its website
 7
     and filed with the Court. Compliance Agreement ¶ 4(f).
 8
     IV.       CONCLUSION
 9
               As documented by the Monitor, SPD has achieved and maintained compliance with the
10
     vast majority of the requirements of the Consent Decree, and its “reforms have translated into safer
11
     interactions between police and the community.” 2022 Assessment at 12. Work in these areas is
12
     not finished. Rather, lasting reform requires continuous innovation, improvement, and public
13
     engagement. The Compliance Agreement will allow the people of Seattle and their elected and
14
     appointed leaders to shape that process going forward.
15
               By incorporating the findings and recommendations from the Monitor’s 2022 Assessment,
16
     the Compliance Agreement will focus attention on the two areas where work remains: ensuring a
17
     sustainable system of accountability and improving the use, reporting, and review of force in crowd
18
     settings. Accordingly, the parties ask the Court to approve and enter the proposed Compliance
19
     Agreement.
20

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 1   Respectfully submitted,

 2
     DATED this 28th day of March, 2023.
 3
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